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 ESTATE OF MELODY MENAYE EDUSAH,
 BY AND THROUGH ITS EXECUTOR, LATRICE
 EDUSAH; LATRICE EDUSAH, INDIVIDUALLY;
 and DAMIEN EDUSAH, INDIVIDUALLY
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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 ESTATE OF MELODY MENAYE           )             Civil No. ___________________
 EDUSAH, by and through Its Executor,
                                   )
 LATRICE EDUSAH; LATRICE           )             COMPLAINT; SUMMONS
 EDUSAH, INDIVIDUALLY; and         )
 DAMIEN EDUSAH, INDIVIDUALLY,      )
                                   )
                Plaintiffs,        )
                                   )
      vs.                          )
                                   )
 THE UNITED STATES OF AMERICA, )
                                   )
                Defendant.         )
 _________________________________ )

                                    COMPLAINT

       COMES NOW the Plaintiffs, the Estate of Melody Menaye Edusah, by and

 though its Executor Latrice Edusah; and Latrice Edusah and Damien Edusah,

 individually (hereinafter “Plaintiffs”), by and through their attorneys, and for their

 Complaint against the United States of America (hereinafter “Defendant”), state as

 follows:

                                 INTRODUCTION

       1.     This lawsuit concerns the substandard medical care provided by agents,

 servants, and employees of the United States Government at the Tripler Army

 Medical Center (hereinafter “Tripler”) to the decedent, Melody Menaye Edusah

 (“Melody”), between on or about May 27, 2017 and March 22, 2018 when Melody
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 was repeatedly seen by providers at Tripler who failed to exercise the standard of

 care by repeatedly failing to diagnose, treat, and/or refer Melody for a malignant

 neuroblastoma in her abdomen, resulting in the wrongful death of Melody Edusah

 at 10 months of age.

                            JURISDICTON AND VENUE

          2.   Plaintiffs bring this lawsuit pursuant to the Federal Tort Claims Act, 28

 U.S.C. §1346(b), 2671 et seq. (“FTCA”) based on the negligent acts and omissions

 of Defendant's employees or agents, as set forth in this Complaint.

          3.   Pursuant to the provisions of the FTCA, Plaintiffs filed administrative

 claims for personal injury, wrongful death, and loss of consortium against the United

 States of America within the statutory period as required by law for $25,000,000.00

 (for Plaintiff Latrice Edusah), $25,000,000.00 (for Plaintiff Damien Edusah) and

 $25,000,000.00 (for Plaintiff’s Estate). More than six months have passed since the

 timely filing of the administrative claim with no final agency action. Plaintiffs'

 lawsuit following the statutory period for agency review is timely.

          4.   This Court has jurisdiction over this action pursuant to 28 U.S.C.

 §1346.

          5.   Venue is proper under 28 U.S.C. §1391(b), 1402.

          6.   Injuries suffered by Plaintiffs occurred in the City and County of

 Honolulu, State of Hawaii. Decedent Melody died in the State of Hawaii due to the



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 negligence of Defendant's employees, agents and/or representatives as set forth in

 this lawsuit.

                                        PARTIES

          7.     At all times relevant herein, Plaintiffs Latrice and Damien Edusah were

on active duty in the armed forces of the United States of America and resided in the

City of County of Honolulu, State of Hawaii, when the events giving rise to this

lawsuit occurred.       Damien Edusah is African and Latrice Edusah is African-

American.

          8.     Plaintiffs Latrice and Damien Edusah are the biological parents of

Melody Edusah and were her legal guardians at the time of her death.

          9.     Latrice Edusah is the executor of the Estate of Melody Edusah.

          10.    Melody Edusah was treated at Tripler, and passed away on March 22,

2018. They are, collectively, the Plaintiffs to this action.

          11.    At all times relevant herein, Defendant United States of America

operated the healthcare facility Tripler Army Medical Center (Tripler) with locations

in Schofield Barracks and in the City and County of Honolulu, State of Hawaii, and

provided healthcare services including but not limited to medical, surgical, and

hospital care and treatment.

          12.    At all times relevant herein, Defendant Tripler represented itself to

Plaintiffs as medical facilities and medical providers that had and possessed the



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requisite skill, competence, facilities, and personnel to properly care for and treat

Decedent Melody, while she was alive.

          13.   At all times relevant herein, the Defendant provided personnel,

including doctors and others for the care and treatment of patients, including

Decedent Melody.

          14.   At all times relevant herein, Defendant's employees, agents,

representatives, including but not limited to physicians, including Dr. Raquel Chan-

Ikeda, who injured the Plaintiffs through their negligent acts and omissions were

employed by Defendant and were acting in the course and scope of their employment

throughout the period of their treatment of Decedent Melody.

                            FACTUAL ALLEGATIONS

          15.   Melody, the daughter of Plaintiffs Latrice and Damien Edusah, was

 born on May 27, 2017 at Tripler in Hawaii. She died less than ten months later on

 March 22, 2018 at this same facility as a result of the Defendant’s negligence.

          16.   On June 8, 2017, Melody was seen at Tripler for an exam. She was 12

 days of age.

          17.   On June 10, 2017, Melody was brought to the Emergency Department,

 at Tripler, for an exam.

          18.   On June 27, 2017, Melody was seen at Tripler for an exam.

          19.   On July 27, 2017, Melody was again seen at Tripler for an exam. She

 was 2 months old.
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          20.   On August 9, 2017, Melody was seen at Tripler by Dr. Chan-Ikeda for

 an exam.

          21.   On September 6, 2017, Melody was taken to the Emergency

 Department at Tripler for an exam.

          22.   On September 7, 2017, Melody was seen at Tripler for an exam by Dr.

 Chan-Ikeda.

          23.   On September 11, 2017, Melody was seen at Tripler by Dr. Chan-Ikeda

 for an exam.

          24.   On September 13, 2017, Melody was again seen at Tripler by Dr. Chan-

 Ikeda for an exam.

          25.   On September 19, 2017, Melody was seen at Tripler by Dr. Chan-Ikeda

 for an exam. Melody was 4 months, 3 weeks old.

          26.   On September 27, 2017, Melody was seen at Tripler for an exam by Dr.

 Chan-Ikeda.

          27.   On October 13, 2017, Melody was seen by Dr. Chan-Ikeda at Tripler

 for an exam.

          28.   On November 27, 2017, Melody was seen at Tripler by Dr. Chan-Ikeda

 for an exam. She was 6 months old.

          29.   On December 14, 2017, Melody was seen by Dr. Chan-Ikeda at Tripler

 for an exam. She was 6 months old.



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          30.   On January 24, 2018, Melody was given an exam at Tripler by Dr.

 Chan-Ikeda.

          31.   On March 4, 2018, Melody was seen at Tripler for an exam.

          32.   On March 5, 2018, Melody was seen by Dr. Chan-Ikeda at Tripler for

 an exam.

          33.   On March 16, 2018, Melody was seen by Dr. Chan-Ikeda at Tripler for

 an exam. She was 9 months old.

          34.   On March 18, 2018, Melody was seen at Tripler for an exam.

          35.   Subsequently, Melody was admitted to the Tripler’s Emergency

 Department.

          36.   On March 19, 2018, Melody was examined by pediatric cardiology at

 Tripler.

          37.   On March 21, 2018, an abdominal US showed a large, heterogeneous

 abdominal mass measuring 6.5 x 8.6 x 6.7 cm which appeared to encase the

 abdominal vasculature highly concerning for neuroblastoma or lymphoma. Findings

 were concerning for neuroblastoma.

          38.   On March 22, 2018, pathology eventually reported an undifferentiated

 neuroblastoma with no amplification of MYCN.

          39.   Melody was intubated and mechanically ventilated during these

 procedures. She then coded after returning to the PICU from the procedures. She

 was declared dead at 21:09.
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          40.   In total, Melody was seen at Tripler twenty-two times in the nine-month

 period before her death, including twelve times by Dr. Chan-Ikeda.

          41.   During these numerous appointments, Latrice Edusah expressed

 concerns about Melody’s stomach, including the size and firmness of her stomach.

          42.   Had an appropriate and thorough abdominal examination been

 performed during the numerous visits to Tripler prior to Melody’s death, more likely

 than not, this large abdominal mass would have been appreciated. Had the mass

 been found in an earlier clinic visit, the treatment of the neuroblastoma would have,

 more likely than not, been successful.

          43.   As a result of the negligence of the United States Government, Melody

 sustained pain and suffering, mental anguish, disfigurement, loss of enjoyment of

 life, loss of future earning, and loss or impairment of earning capacity.

          44.   As a result of the negligence of the United States Government, the

 Estate of Melody Edusah sues the Defendant to recover for pre-death pain and

 suffering, mental anguish, and disfigurement, loss of enjoyment of life, loss of future

 earning, loss or impairment of earning capacity, and expenses of the deceased's last

 illness and burial, and any and all other available estate claims and expenses, resulting

 from the death of Melody. Plaintiffs Damien Edusah and Latrice Edusah are entitled

 to recover for the loss of society, companionship, comfort, consortium, or protection,

 loss of filial care or attention, and negligent infliction of emotional distress resulting

 from the death of their child, Melody.
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                              COUNT I - NEGLIGENCE

          45.   Plaintiffs incorporate paragraph 1 through 43 as if fully set forth herein.

          46.   At all relevant times, Defendant promoted its employees and/or agents,

 including Dr. Chan-Ikeda as a sufficiently skilled pediatrician to capably and

 competently examine, diagnose, and treat Melody according to the standards of care

 of American medicine in this field.

          47.   Defendant, through its employees and agents, had a duty during the

 medical care of Melody to use such skill, prudence, and diligence as other members

 of the medical community commonly possess and exercise.

          48.   Defendant, through its employees and agents had a duty to

 appropriately examine, diagnose, counsel, care for, and treat Melody.

          49.   Defendants owed a duty to ensure the treatment and services provided

 to Melody were adequate and appropriate in the circumstances.

          50.   Defendants owed special care and treatment to Melody as a baby who

 cannot advocate and/or care for herself.

          51.   Defendant, through its employees and/or agents, were negligent,

 committed medical torts, and breached the duty of due care owed to the Plaintiffs by

 deviation from applicable standards of care required of medical professionals,

 including but not limited to the following:

                a.    The failure to perform appropriate, thorough, complete and

                      proper abdominal examinations;
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                 b.    The failure to properly monitor, document, and/or note Melody’s

                       abdominal examinations;

                 c.    The failure to follow up abdominal examinations with

                       appropriate testing, including diagnostic imaging studies of

                       Melody’s abdomen;

                 d.    The failure to investigate Melody’s repeated abnormal

                       symptoms;

                 e.    The failure to investigate Melody’s sympathetic nervous system

                       symptoms;

                 f.    The failure to examine, treat, and/or diagnose Melody’s

                       neuroblastoma prior to her death;

                 g.    The failure to otherwise provide treatment, care, and/or follow-

                       up to address Melody’s condition and/or medical issues.

           52.   Defendant is vicariously liable for the negligence of its agents and/or

 employees who were in the course and scope of their duties under the doctrine of

 respondeat superior.

           53.   As a result of the medical negligence of Tripler personnel and/or

 employees, Plaintiff Latrice Edusah suffered amongst other injuries, emotional

 distress and the loss of society, companionship, comfort, consortium, or protection

 and loss of filial care or attention, and the wrongful death of her daughter.



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           54.   As a result of the medical negligence of Tripler personnel and/or

 employees, Plaintiff Damien Edusah suffered amongst other injuries, emotional

 distress and the loss of society, companionship, comfort, consortium, or protection

 and loss of filial care or attention, and the wrongful death of his daughter.

           55.   As a direct and proximate result of the Defendant's negligence,

 Decedent Melody Edusah suffered injuries and damages, including but not limited to

 wrongful death, conscious pain and suffering, mental anguish, disfigurement, loss of

 enjoyment of life, loss of future earning, loss or impairment of earning capacity,

 negligent infliction of emotional distress, and expenses prior to her death, and other

 special and general damages to be proven at trial.

                           COUNT II – WRONGFUL DEATH

           56.   Plaintiffs incorporate paragraph 1 through 54 as if fully set forth herein.

           57.   Defendant, through the negligent acts heretofore alleged, is liable for

  the wrongful death of Melody Menaye Edusah and the Plaintiffs are entitled to

  recovery for all those damages provided by Hawaii law in an amount to be proved

  at trial.

  COUNT III – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS AS
                      TO LATRICE EDUSAH

           58.   Plaintiffs incorporate paragraph 1 through 56 as if fully set forth herein.

           59.   At all times relevant herein, Plaintiff Latrice Edusah suffered severe

  and devastating emotional distress by witnessing the deterioration of her daughter,


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  the effects of the severe infection during the time period in which Melody was not

  properly diagnosed, and her death.

           60.   Plaintiff Latrice Edusah is entitled to compensation for her emotional

  distress arising out of the severe and avoidable injuries to her daughter caused by the

  negligence of the Defendant.

  COUNT IV – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS AS
                     TO DAMIEN EDUSAH

           61.   Plaintiffs incorporate paragraph 1 through 59 as if fully set forth herein.

           62.   At all times relevant herein, Plaintiff Damien Edusah suffered severe

  and devastating emotional distress by witnessing the deterioration of his daughter,

  the effects of the severe infection during the time period in which Melody was not

  properly diagnosed, and her death.

           63.   Plaintiff Damien Edusah is entitled to compensation for his emotional

  distress arising out of the severe and avoidable injuries to his daughter caused by the

  negligence of the Defendant.

           COUNT V – LOSS OF CONSORTIUM AS TO LATRICE EDUSAH

           64.   Plaintiffs incorporate paragraph 1 through 62 as if fully set forth herein.

           65.   At all times relevant herein, Plaintiff Latrice Edusah was the lawful

  mother of Decedent Melody Menaye Edusah.

           66.   Plaintiff Latrice Edusah had a metal breakdown as a result of the death

  of her daughter Melody because a loss of your child is devastating.

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           67.   By virtue of the negligence heretofore alleged, and Defendant's breach

  of its duties owed to Plaintiffs, and Plaintiff Latrice Edusah suffered and continues

  to suffer a severe and permanent loss of filial consortium as a result of the severe

  injuries to her daughter and her ultimate death, causing damage in an amount to be

  proved at trial.

           COUNT VI - LOSS OF CONSORTIUM AS TO DAMIEN EDUSAH

           68.   Plaintiffs incorporate paragraph 1 through 66 as if fully set forth herein.

           69.   At all times relevant herein, Plaintiff Damien Edusah was the lawful

  father of Decedent Melody Menaye Edusah and by virtue of the negligence

  heretofore alleged, and Defendant's breach of its duties owed to Plaintiffs, Plaintiff

  Damien Edusah suffered and continues to suffer a severe and permanent loss of filial

  consortium as a result of the severe injuries to his daughter and her ultimate death,

  causing damage in an amount to be proved at trial.

                           REQUEST FOR ADVISORY JURY

           Pursuant to Rule 39(c) of the Federal Rules of Civil Procedure, “In all actions

  not triable of right by a jury the court upon motion or of its own initiative may try

  any issue with an advisory jury.” Fed. R. Civ. P. 39(c).” Plaintiffs hereby request an

  advisory jury.

                                  REQUESTED RELIEF

  WHEREFORE, Plaintiffs respectfully demand judgment in his favor and to:



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           A.   Award Plaintiffs compensatory, consequential and incidental damages

                in an amount to be proven at trial, but not less than $25,000,000.00;

           B.   Award Plaintiffs their costs and reasonable attorney fees pursuant to 42

                U.S.C. § 1988;

           C.   Award pre- and post-judgment interest on any award as permitted by

                law;

           D.   Award other costs and expenses as permitted by law; and

           E.   Award such other relief that this Court deems just and proper.

           DATED: Honolulu, Hawaii, January 27, 2021.

                                     Respectfully Submitted,

                                     KURZBAN KURZBAN TETZELI & PRATT,
                                      P.A.
                                     and
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